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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

FREDERICO GONZALEZ,               :     CIV. NO. 20-5448 (RMB)
                                  :
                Petitioner        :
                                  :
     v.                           :     MEMORANDUM AND ORDER
                                  :
WARDEN DAVID ORTIZ,               :
                                  :
                Respondent        :


     This matter comes before the Court upon Petitioner Frederico

Gonzalez’s emergency motion for reconsideration of the Court’s

Order denying his petition for writ of habeas corpus under 28 U.S.C

§ 2241 (“Emergency Motion.”) (Dkt. No. 15.) Petitioner, a prisoner

in the Federal Correctional Institution in Fort Dix New Jersey

(“FCI-Fort Dix”) is proceeding pro se. For the reasons discussed

below, the Court will construe the motion for reconsideration as

a new habeas petition and direct Respondent to file an answer.

I. BACKGROUND

     On May 1, 2020, Petitioner filed a “Motion for Emergency Order

Order to Order BOP to Release Petitioner Due to Potential Death

from Coronavirus.” (Dkt. No. 1.) The Court construed the motion as

a petition for writ of habeas corpus under 28 U.S.C. § 2241.

(Order, Dkt. No. 2.) Respondent filed an answer on May 14, 2020,

and Petitioner filed an amended petition and memorandum on May 22,
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2020 (Dkt No. 5), followed by a reply brief and two evidentiary

declarations (Dkt. Nos. 6, 7 and 9.) By Opinion and Order dated

June 22, 2020, the Court dismissed the amended petition without

prejudice       for   failure    to    exhaust   administrative      remedies.

(Opinion, Dkt. No. 10; Order, Dkt. No. 11.) Plaintiff appealed to

the Third Circuit Court of Appeals on July 1, 2020. (Notice of

Appeal, Dkt. No. 12.) On October 9, 2020, the Third Circuit issued

a certified order in lieu of a formal mandate, dismissing the

appeal for failure to pay the filing fee. (USCA Order, Dkt. No.

14.)

II.    Motion for Reconsideration

       Federal Rule of Civil Procedure 59(e) provides that a motion

to alter or amend a judgment may be filed “no later than 28 days

after the entry of the judgment.” The Court denied the amended

petition without prejudice on June 22, 2020, and the Third Circuit

Court of Appeals dismissed Petitioner’s appeal on October 9, 2020.

Petitioner’s motion for reconsideration is untimely.

III. The Motion is Construed as a Petition for Writ of Habeas

Corpus under 28 U.S.C. § 2241 Based on Changed Circumstances

       The   Court    denied    Petitioner’s     amended    petition   without

prejudice, and Petitioner now presents changed circumstances that

he    submits    entitle   him    to   habeas    corpus    relief.   The   most

significant of the changed circumstances alleged are that on

October 26, 2020, after 230 inmates were transferred from FCI

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Elkton to FCI Fort Dix, 126 inmates at Fort Dix tested positive

for COVID 19, including inmates in the east side of the prison

where Petitioner is housed. Petitioner suffers from cancer and

Type I diabetes, which are risk factors for serious health risks

posed by COVID 19. Thus, the Court will treat the emergency motion

as a new petition and direct the Clerk to open a new habeas action.

     IT IS therefore on this 10th day of November 2020,

     ORDERED that the Clerk shall file Petitioner’s emergency

motion for reconsideration in a new action under 28 U.S.C. § 2241,

with the docket entry “Petition for Writ of Habeas Corpus Under 28

U.S.C. § 2241” and the Clerk shall file a copy of this Order in

the new action; and it is further

     ORDERED that the Clerk shall serve a copy of Petitioner’s

Emergency Motion (Dkt. No. 15), which is construed by the Court as

a petition for writ of habeas corpus under 28 U.S.C. § 2241, and

serve a copy of this Order upon Respondent, the warden of FCI-Fort

Dix, by regular mail, with all costs of service advanced by the

United States; and it is further

     ORDERED that the Clerk shall forward a copy of Petitioner’s

Emergency Motion (Dkt. No. 15) and this Order to the Chief, Civil

Division, United States Attorney’s Office, at the following email

address: USANJ-HabeasCases@usdoj.gov; and it is further

     ORDERED that within seven (7) days of the date of the entry

of this Order, Respondent shall file and serve an Answer which

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responds to the allegations and grounds in the Petition and which

includes all affirmative defenses Respondent seeks to invoke,

together with certified copies of all documents necessary to

resolve Petitioner’s claims and any affirmative defenses; and it

is further

     ORDERED that, to avoid administrative termination of this

action, upon receipt of this Order Petitioner shall submit to the

Clerk a $5 filing fee, pursuant to 28 U.S.C. § 1914(b), or shall

alternatively file an application to proceed in forma pauperis

under 28 U.S.C. § 1915(a); and it is further

     ORDERED that the Clerk shall serve a copy of this Order,

together with a blank form “Affidavit of Poverty and Certification

(Habeas Corpus)” on Petitioner by regular U.S. mail.



                                  s/Renée Marie Bumb
                                  RENÉE MARIE BUMB
                                  United States District Judge




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